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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                       IN THE UNITED STATES DISTRICT COURT                                 July 06, 2016
                       FOR THE SOUTHERN DISTRICT OF TEXAS                               David J. Bradley, Clerk
                                HOUSTON DIVISION

UNITED STATES OF AMERICA,                        §
                                                 §
                       Government,               §
                                                 §
VS.                                              §     CRIMINAL NO. H-16-126-6
                                                 §
OSMEL SERRANO,                                   §
                                                 §
                       Defendant.                §


                                    ORDER OF REFERRAL

       Having considered the defendant’s consent, this cause is hereby referred to United States

Magistrate Judge Mary Milloy for the purpose of administering the plea of guilty and the

FED.R.CRIM.P. 11 Allocution, subject to the final approval and imposition of sentence by this Court.

               SIGNED on July 6, 2016, at Houston, Texas.


                                                     ______________________________________
                                                              Lee H. Rosenthal
                                                        United States District Judge
